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                              EXHIBITB
                      FILED UNDER SEAL
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   Bates Number                  Production Volume No.   Date of Production
   APL-CORELLIUM 00000023        ProductionOO 1          Jan. 10, 2020
   APL-CORELLIUM 00000874        Production002           Jan.24, 2020
   APL-CORELLIUM 00000802        Production002           Jan.24, 2020
   APL-CORELLIUM 00000809        Production002           Jan.24, 2020
   APL-CORELLIUM 00000519        Production002           Jan.24, 2020
   APL-CORELLIUM 00002428        Production002           Jan.24, 2020
   APL-CORELLIUM 00000521        Production002           Jan.24, 2020
   APL-CORELLIUM 00002432        Production002           Jan.24, 2020
   APL-CORELLIUM 00002435        Production002           Jan.24, 2020
   APL-CORELLIUM 00000530        Production002           Jan.24, 2020
   APL-CORELLIUM 00002438        Production002           Jan.24, 2020
   APL-CORELLIUM 00002441        Production002           Jan.24, 2020
   APL-CORELLIUM 00000533        Production002           Jan.24, 2020
   APL-CORELLIUM 00000536        Production002           Jan.24, 2020
   APL-CORELLIUM 00000540        Production002           Jan.24, 2020
   APL-CORELLIUM 00000544        Production002           Jan.24, 2020
   APL-CORELLIUM 00000548        Production002           Jan.24, 2020
   APL-CORELLIUM 00000552        Production002           Jan.24, 2020
   APL-CORELLIUM 00000555        Production002           Jan.24, 2020
   APL-CORELLIUM 00000559        Production002           Jan.24, 2020
   APL-CORELLIUM 00000562        Production002           Jan.24, 2020
   APL-CORELLIUM 00002445        Production002           Jan.24, 2020
   APL-CORELLIUM 00000566        Production002           Jan.24, 2020
   APL-CORELLIUM 00000569        Production002           Jan.24, 2020
   APL-CORELLIUM 00000573        Production002           Jan.24, 2020
   APL-CORELLIUM 00002448        Production002           Jan.24, 2020
   APL-CORELLIUM 00000576        Production002           Jan.24, 2020
   APL-CORELLIUM 00000580        Production002           Jan.24, 2020
   APL-CORELLIUM 00000584        Production002           Jan.24, 2020
   APL-CORELLIUM 00003920        Production003           Feb. 7, 2020



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   Bates Number                  Production Volume No.   Date of Production
   APL-CORELLIUM 00006416        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006428        Production004           Feb. 14, 2020
   APL-CORELLIUM 00036199        Production004           Feb. 14, 2020
   APL-CORELLIUM 00036237        Production004           Feb. 14, 2020
   APL-CORELLIUM 00036228        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006636        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006674        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006665        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006366        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006405        Production004           Feb. 14, 2020
   APL-CORELLIUM 00006396        Production004           Feb. 14, 2020
   APL-CORELLIUM 00036252        Production004           Feb. 14, 2020
   APL-CORELLIUM 00008529        Production004           Feb. 14, 2020
   APL-CORELLIUM 000447 49       Production008           Apr. 2, 2020
   APL-CORELLIUM 00044386        Production008           Apr. 2, 2020
   APL-CORELLIUM 00045484        Production009           Apr. 14, 2020
   APL-CORELLIUM 00045401        Production009           Apr. 14, 2020
   APL-CORELLIUM 00046937        ProductionO 11          Apr. 20, 2020
   APL-CORELLIUM 00046939        ProductionO 11          Apr. 20, 2020




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